           Case 1:18-cv-06090-VSB Document 57 Filed 03/09/20 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
MARLENE ALOE,
                                                                            NOTICE OF MOTION
                                            Plaintiff,                      18-CV-6090 (VSB)
                 -against-

THE CITY OF NEW YORK and CORRECTION OFFICERS
“JANE DOES #1-5” Correction Officers as yet unidentified
 in their official and individual capacities,

                                            Defendants.

------------------------------------------------------------------------X

        PLEASE TAKE NOTICE, that, upon the Declaration of Pamela S. Roth dated March 2,

2020, the exhibits annexed thereto, the accompanying Memorandum of Law dated March 2,

2020; and upon all prior pleadings and proceedings had herein, Plaintiff Marlene Aloe will move

this Court before the Honorable Vernon S. Broderick, United States District Judge, at the United

States Courthouse for the Southern District of New York, located at 40 Foley Square, New York,

New York 10007, at at date and time to be determined by the Court, for an Order granting

summary judgment to the plaintiff pursuant to Rule 56 of the Federal Rules of Civil Procedure,

and for such other and further relief as this Court deems just and proper.

Dated: Brooklyn, New York
       March 2, 2020

                                       ________________________________________
                                       LAW OFFICE OF PAMELA S. ROTH, ESQ. P.C.
                                       Attorney for Plaintiff
                                       MARLENE ALOE
                                       2747 Coney Island Avenue
                                       Brooklyn, New York 11235
                                       (888) 466-4884
      Case 1:18-cv-06090-VSB Document 57 Filed 03/09/20 Page 2 of 3



                            By: _____________________________________
                                   Pamela S. Roth, Esq.




To:    James E. Johnson
       Corporation Counsel of the City of New York
       Attorney for Defendant City of New York
       100 Church Street, Room 3-204
       New York, New York 10007
       (212) 356-5055
       Attn: Katherine J. Weall, Senior Counsel
       Case 1:18-cv-06090-VSB Document 57 Filed 03/09/20 Page 3 of 3



18-CV-060909 (VSB)

_________________________________________________________________________
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________________________________

MARLENE ALOE,


                                                           Plaintiff,

               against


THE CITY OF NEW YORK and CORRECTION OFFICERS
“JANE DOES #1-5” Correction Officers as yet unidentified
 in their official and individual capacities,

                                     Defendants.
_________________________________________________________________________
                           NOTICE OF MOTION



                      LAW OFFICES OF PAMELA S. ROTH, ESQ. P.C.
                                 Attorneys for Plaintiff
                                  MARLENE ALOE
                              Office & Post Office Address
                               2747 Coney Island Avenue
                               Brooklyn, New York 11235
                                     (888) 466-4884


Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney duly admitted to practice law in the State of New York,
certifies that, upon information and belief based upon reasonable inquiry, the contentions contained in the annexed
document are not frivolous.

Dated: __________                      Signature: ______________________________

                                       Print Signer’s Name: PAMELA S. ROTH
             Service of a copy of the within ^ is hereby admitted
Dated,
^_______________________________________
           Attorney(s) for ^
